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             MEMORANDUM IN SUPPORT OF MOTION TO WITHDRAW1

I.     Overview of Arguments

       Cause exists for the granting of the Motion for at least three reasons. First, Defendants

possess a Seventh Amendment right to a jury trial on the claims asserted by the United States

Trustee in her Complaint (Doc. 1) (the “Complaint”) pursuant to 11 U.S.C. § 5262 (Counts I, and

II). To the extent that a Bankruptcy Court is permitted to conduct a jury trial with unanimous

express consent from the parties, Defendants do not provide such consent. For this reason alone,

withdrawal of the reference is required in this case.

       Second, withdrawal of the reference is mandatory because adjudication of this case requires

consideration of constitutional issues –– including but not limited to the Due Process clause of the

Fifth Amendment. In an adversary proceeding, defendants have a due process right to a neutral

arbiter. Yet, this proceeding is the product of the Bankruptcy Court’s sua sponte initiation of

dozens of investigations of UpRight Law, and its directive to the UST to conduct those

investigations. In the course of this investigatory process, the Bankruptcy Court, inter alia,

(i) usurped the administrative functions performed by the Chapter 7 Trustee in the underlying

bankruptcy case, and (ii) prejudged the merits of this case based on inferences it drew without

conducting an evidentiary hearing. Given this background, Defendants respectfully submit that

the Bankruptcy Court cannot serve as a neutral arbiter. It would be unfair, and inconsistent with

the appearance of judicial neutrality, for the Bankruptcy Court to preside over an adversary

proceeding that is the product of an investigation the Bankruptcy Court directed the UST to

undertake.

       Third, cause also exists to withdraw the reference because the factors that support

permissive withdrawal are present. Among other considerations, the UST’s claims are not “core,”


1
  Capitalized terms not defined in this memorandum have the same meanings as ascribed to them
in Defendants’ Motion to Withdraw the Reference (the “Motion”), to which this memorandum is
attached.
2
  Hereafter, citations to a section of title 11 (the “Bankruptcy Code”) will be “Section __” or
“§ __.”

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as they have nothing to do with the administration of the bankruptcy estate, which has already

been fully administered. Because these claims are not core, the Bankruptcy Court cannot enter a

final judgment, and any recommendation that the Bankruptcy Court might make would need to be

reviewed de novo by this Court. To avoid that duplication of effort, considerations of judicial

efficiency (among other factors) warrant withdrawal of the reference in this case.

II.    Procedural Posture of this Adversary Proceeding

       Distilled to its essence, the instant proceeding is an attempt to transform Defendants’

successful representation of the debtors, Boyce and Amanda Burns (the “Debtors”), into a broad

condemnation of UpRight Law that purports to seek, inter alia, civil penalties based on a variety

of purported false statements and misrepresentations that are not alleged to have harmed a

substantial right of the Debtors or their bankruptcy estate.3

       The Debtors engaged UpRight Law to represent them in a Chapter 7 bankruptcy for a flat

attorney fee of $1,250.4 UpRight Law did, in fact, provide such representation to the Debtors.5

The Firm filed their Chapter 7 Bankruptcy Petition in September 2019.6 They received a discharge

in April 2020.7 The UST makes no allegation that the Debtor expressed any concern (let alone

lodged a complaint) to anyone regarding Defendants’ representation of them.

       Nevertheless, nine months after the Debtors received their discharge and after the Chapter

7 Trustee issued his Report of No Distribution (Doc. 40 in 19-60349) on March 30, 2020, the UST

filed her four-count Complaint against Defendants on December 31, 2020. Two of the counts

alleged violations of § 526, and purported to seek, inter alia, civil penalties against Defendants


3
  Rule 61 of the Federal Rules of Civil Procedure, made applicable to this case under Federal Rule
of Bankruptcy Procedure 9005, provides that “[a]t every stage of the proceeding, the
court must disregard all errors and defects that do not affect any party’s substantial rights.” Fed.
R. Civ. P. 61 (emphasis added). Hereafter, references to a Federal Rule of Bankruptcy Procedure
will be “Rule __.”
4
  See Complaint, Doc.1, at ¶ 104;
5
  See Complaint, Doc.1, passim.
6
  See Chapter 7 Voluntary Petition, Doc. 1 in In re Burns, Bankr. Case No. 19-60349-lkg (Bankr.
S.D. Ill.) (the “Burns Bankruptcy”). Hereafter, citations to docket entries and filings in the
Debtors’ Bankruptcy will be “Doc. __ in 19-60349.”
7
  See Order of Discharge, Doc. 41 in 19-60349.

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totaling $55,000.00.8 The third Count purported to seek disgorgement of the attorney fee paid to

UpRight Law pursuant to § 329 and Rule 2017, even though the Chapter 7 Trustee and the UST

never objected to any fee paid to Upright Law during the Debtors’ Bankruptcy.9

       Defendants moved to dismiss the Original Complaint on January 29, 2021.10 On March

15, 2021, the Bankruptcy Court denied that motion in its entirety without issuing any written

opinion.11

       On March 29, 2021, Defendants filed their Answer and Additional Defenses (Doc. 12) (the

“Answer”) to the Complaint. Among other aspects of their Answer, Defendants denied the UST’s

allegation that the UST’s action constitutes a core proceeding.12 They also made a jury demand.13
Defendants subsequently filed the instant Motion.

III.   The Bankruptcy Court’s Investigation in the Debtor’s Bankruptcy

       During a period of more than two years that preceded the filing of the Complaint, the

Bankruptcy Court sua sponte orchestrated a sweeping investigation of UpRight Law by issuing

“notices” of hearings (“Notices”) “to consider and act upon the . . . Disclosure of Compensation

of Attorney” filed by the debtor’s counsel in dozens of Chapter 7 cases filed by UpRight Law on

behalf of its clients.14 The Notices did not identify any Bankruptcy Code provision or Bankruptcy

Rule that is alleged to have been violated by the Disclosures of Compensation of Attorney for

Debtor(s) (the “Disclosures”), nor did they indicate what relief, if any, might be imposed on

UpRight Law or its attorneys based on the Disclosures. Moreover, the Notices did not allege that

the amounts disclosed in the Disclosures were incorrect.




8
  See Complaint, Doc. 1, at ¶ 136(D), 139(D).
9
  Id. at ¶ 175(D).
10
   See Defendants’ Motion to Dismiss the Adversary Complaint (Doc. 5).
11
   See Minutes of Court re. Defendants’ Motion to Dismiss (Doc. 11), at 1.
12
   See Answer, Doc.12, at ¶ 3.
13
   Id. at 1.
14
   See, e.g., Doc. 26 in 19-60349.

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        Currently, the Bankruptcy Court has issued Notices in 53 cases filed by UpRight Law on

behalf of its clients.15 In 45 of those cases, the Notices were issued within seven days after the

bankruptcy petitions were filed.16 In three cases, the Notices were issued after a discharge order

had been entered.17 Importantly, none of the Notices identified any wrongdoing on the part of

UpRight Law or its attorney. Despite the fact that, to date, Reports of No Distribution (the “Final

Reports”) have been filed, and discharges have been entered, in 43 of these cases, 18 as the

Bankruptcy Court refuses to perform the ministerial act of closing them as required by § 350, and

Rule 5009. Thus, the cases remain open to the detriment of the innocent debtors. The Bankruptcy

Court continues to issue, in apparent reflexive fashion, new Notices in cases filed by UpRight Law,

often shortly after they are filed.

        In July 2020, UpRight Law and dozens of its clients, including the Debtors, filed Motions

to Close Case,19 all of which the Bankruptcy Court denied.20 Soon thereafter, on September 30 and
October 1, 2020, UpRight Law and its clients filed motions to withdraw the reference (the “Initial

Motions to Withdraw”) and notices of appeal of the orders in which the Bankruptcy Court denied

the Motions to Close.21

        On October 30, 2020, the Bankruptcy Court issued identical Opinions22 (collectively, the

“Opinion”) that reflected its rationale for denying the Motions to Close. In that Opinion, the

Bankruptcy Court acknowledged that each of the subject cases was capable of being closed

because the Chapter 7 Trustee had issued the Final Report without objection and a discharge had



15
   See Table attached as Exhibit A, which identifies the cases in which the Bankruptcy Court has
issued notices.
16
   See Ex. A (9 notices issued within 1 day of filing; 13 notices issued within 2 days of filing; 10
notices issued within 3 days of filing; 4 notices issued within 4 days of filing; 3 notices issued
within 5 days of filing; and 5 notices issued within 7 days of filing).
17
   See Exhibit A (104 days, 48 days, and 41 days after the discharge order was issued).
18
   See Exhibit A (in 36 of the cases, discharge orders were issued over 100 days ago).
19
   See, e.g., Docs. 57 and 58 in 19-60349.
20
   See, e.g., Minutes of Court, Doc. 77 in 19-60349.
21
   See, e.g., Docs. 82 and 84 in 19-60349. The Initial Motions to Withdraw and Notices of Appeal
appeals have since been consolidated under lead case numbers 20-1176 and 20-1006, respectively.
22
   See, e.g., Doc. 94 in 20-30186, attached hereto as “Exhibit B.”

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been entered.23 The Bankruptcy Court also acknowledged that generally, when such events occur,

bankruptcy courts close those cases.24 The Bankruptcy Court nevertheless stated that it was not

required to close these cases because the UST was still in the process of conducting court-ordered

investigations through Rule 2004 Examinations in each of the subject matters. Rather than

following the unambiguous mandates of § 350 and Rule 5009,25 the Bankruptcy Court indicated

that “[t]he cases should remain open at least until the 2004 Examinations have taken place and the

U.S. Trustee has had an opportunity to evaluate the testimony and file additional [adversary

complaints], if necessary.”26

       Of note, in the Opinion, the Bankruptcy Court purported to issue “Findings of Fact.” These

“Findings of Fact” appear to represent the Bankruptcy Court’s views on the merits of these

bankruptcy cases, despite the fact that there were no contested matters before it, and no evidentiary

hearings were conducted in any of these bankruptcy cases. Now the UST has been using this

Order in an attempt to foreclose Defendants from asserting defenses. (ECF No. 43 at p. 17)

       Certain aspects of the Opinion are particularly notable. For instance, during multiple pre-

Opinion proceedings related to its investigations, the Bankruptcy Court indicated that those

investigations are not genuinely about the attorney fees charged in the subject cases.27 But later,
in an attempt to justify its refusal to close the bankruptcy cases so that its investigations could




23
   See Opinion, Ex. B, at 37.
24
   Id. at 39.
25
   Section 350(a) provides: “After an estate is fully administered and the court has discharged the
trustee, the court shall close the case.” 11 U.S.C. § 350 (emphasis added). “[Rule 5009] is the
same as § 350(a) of the Code.” Fed. R. Bankr. P. 5009, 1983 Advisory Comm. Note.
26
   See Opinion, Ex. B, at 39.
27
   During a January 28, 2020 hearing, the Bankruptcy Court stated, “this has always been more
than just an issue of the amount charged . . . .” See Transcript of Jan. 28, 2020 Hrg., attached
hereto as “Exhibit C,” at 7:6-7 (emphasis added). Then, during the course of hearings on April 28
and 29, 2020, which resulted in the Bankruptcy Court authorizing over 50 Rule 2004 Examinations
of the Firm and its clients, the Bankruptcy Court stated “And this is where, you know, Upright
always wants to hone the case down into the amount of the fees, the amount of the fees, the amount
of the fees. That’s not it. That’s not where I’m having my problem.” See Transcript of Apr. 28,
2020 Hrg., attached as “Exhibit D,” at 23:9-12 (emphasis added).

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proceed, the Bankruptcy Court characterized the fees charged in these cases, which consisted of

flat fees that ranged from $1,050 to $1,775, as “egregious.”28

      IV.      Legal Standard

            Pursuant to § 157(a), “[e]ach district court may provide that any or all cases under title 11

and any or all proceedings arising under title 11 or arising in or related to a case under title 11 shall

be referred to the bankruptcy judges for the district.” Id. Thus, district courts may refer any or all

proceedings arising under title 11 to the bankruptcy judges of their district, which the Southern

District has done. See Stern v. Marshall, 564 U.S. 462, 473 (2011) (citing 28 U.S.C. § 157(a);

S.D. Ill. Local Rule Br 1001.1. A district court also “may withdraw, in whole or in part, any case

or proceeding referred to the bankruptcy court under [§ 157], on its own motion or on timely

motion of any party, for cause shown.” See Stern, 564 U.S. at 473; 28 U.S.C. §157(d).

            The phrase “for cause shown” is not defined in § 157. In re K & R Express Syst., Inc., 382

B.R. 443, 446 (N.D. Ill. 2007). In the Seventh Circuit, withdrawal of the reference is required

when a litigant has a right to a jury trial, and does not consent to a jury trial in the bankruptcy

court. See Matter of Grabill Corp., 967 F.2d 1152, 1158 (7th Cir. 1992) (reversing denial of

motion to withdraw the reference when party had a right to a jury trial); Davidson v. Bristol-Myers

Squibb Co., No. 10-CV-970-MJR, 2011 WL 13234404, at *2 (S.D. Ill. Sept. 30, 2011) (referral to

bankruptcy court withdrawn where defendants had right to jury trial and “made clear that they

[did] not consent to trial before the bankruptcy court”). District courts are also mandated to

withdraw the reference upon timely motion "if the court determines that resolution of the

proceeding requires consideration of both title 11 and other laws of the United States regulating

organizations or activities affecting interstate commerce." 28 U.S.C. § 157(d); see, e.g., Picard v.

Avellino, 469 B.R. 408, 414 (S.D.N.Y. 2012) (consideration of constitutional issues mandated

withdrawal of reference).




28
     See Opinion, Ex. B, at 41.

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        District courts may also permissively withdraw the reference based on factors that include,

inter alia, promoting the uniformity and efficiency of bankruptcy administration, judicial

economy, and conservation of resources. In re K & R Express Syst., Inc., 382 B.R. at 446. Further,

permissive withdrawal may be especially appropriate for non-core proceedings, see, e.g., In re

Orion Pictures Corp., 4 F.3d 1095, 1101 (2d Cir. 1993); In re K & R Express Syst., Inc., 382 B.R.

at 446) (“[T]he most important factor is whether a proceeding is core or non-core, as efficiency,

uniformity and judicial economy concerns are largely subsumed within it . . . .”), “or in any other

case containing sensitivities such that a determination by an Article III judge is required to insure

the appearance and the reality of independence and impartiality in the decision,” In re Texaco Inc.,

84 B.R. 911, 925 (S.D.N.Y. 1988) (quoting Pacemaker Diag. Clinic of Am. v. Instromedix, Inc.,

725 F.2d 537 (9th Cir. 1984).


V.     Argument

       A. This Court must withdraw the reference because Defendants are entitled to a jury
          trial on the UST’s § 526 claims, which must be conducted in an Article III court.

           1.    Defendants have a constitutional right to a jury trial on the UST’s § 526
                claims.
       The Seventh Amendment to the U.S. Constitution provides that “[i]n suits at common law,

where the value in controversy shall exceed twenty dollars, the right of trial by jury shall be

preserved.” Thus, written into this nation's basic charter is the notion that trial by jury is:

       the normal and preferable mode of disposing of issues of fact in civil cases at law
       as well as in criminal cases. Maintenance of the jury as a fact-finding body is of
       such importance and occupies so firm a place in our history and jurisprudence that
       any seeming curtailment of the right to a jury trial should be scrutinized with the
       utmost care.
Dimick v. Schiedt, 293 U.S. 474, 485, 55 S. Ct. 296, 301 (1935) (emphases added), quoted with

approval in Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 501, 79 S. Ct. 948, 952 (1959). Thus,

any effort to limit a litigant’s jury trial rights must be carefully examined before it will be allowed.

       The basic decisional unit in determining the existence of a right to jury trial is not the case

but the particular issue within a case on which a trial by jury is demanded. Ross v. Bernhard, 396


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U.S. 531, 538 (1970) (“The Seventh Amendment question depends on the nature of the issue to be

tried rather than the character of the overall action.”) The Supreme Court interprets “suits at

common law” to mean cases involving legal rights, as distinguished from equitable claims.

Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 41 (1989). In determining whether a party has

legal claim, and thus a jury trial right, in the context of a statutory claim, the Supreme Court has

articulated the following test:

        In determining whether a claim in a case presents an equitable or legal issue, [f]irst,
        we compare the statutory action to 18th-century actions brought in the courts of
        England prior to the merger of the courts of law and equity. Second, we examine
        the remedy sought and determine whether it is legal or equitable in nature. The
        second stage of this analysis is more important than the first. If, on balance, these
        two factors indicate that a party is entitled to a jury trial under the Seventh
        Amendment, we must decide whether Congress may assign and has assigned
        resolution of the relevant claim to a non-Article III adjudicative body that does not
        use a jury as factfinder.
Id. (citations omitted). The jury trial right thus turns on a two-part “compare actions” and “remedy

sought” test. If these factors indicate that a party is entitled to a jury trial, it is also necessary to

decide whether Congress may assign and has assigned resolution of the relevant claim to a non-

Article III adjudicative body that does not use a jury as a factfinder. As illustrated below,

application of the Granfinanciera test confirms that Defendants are entitled to a jury trial on the

UST’s § 526 claims.

            2. The UST’s claims for civil penalties under § 526 entitled Defendants to a jury
               trial.
        Claims brought by the Federal Government that purport to seek civil penalties have long

been held to be analogous to actions in debt that fell within jurisdiction of the English courts of

law. See, e.g., Tull v. United States, 481 U.S. 412, 418 (1987) (compiling cases). Accordingly,

where the Government seeks to recover civil penalties under a statutory provision, it historically

has been viewed as an action in debt requiring trial by jury. Id. at 418-19

        For example, in Tull, a case in which the Federal Government sought civil penalties against

the Petitioner for statutory violations of the Clean Water Act, 33 U.S.C. §§ 1251, et seq., the



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Supreme Court held that the Petitioner was entitled to a jury trial. Id. at 425. In so holding, the

Supreme Court considered –– and rejected –– the Government’s argument that its claims brought

under the Clean Water Act were more analogous to an action to abate a nuisance than one to collect

a debt. See id. at 420. The Court also rejected the notion that it needed to rest its conclusion on

an “abstruse historical” search for the nearest 18th century analogy. Id. at 421 (citing Ross v.

Bernhard, 396 U.S. 531, 538 n. 10 (1970)). Rather, the Court emphasized that “characterizing the

relief sought is ‘more important’ than finding a precisely analogous common-law cause of action

in determining whether the Seventh Amendment guarantees a jury trial.” Id. (citing Curtis v.

Loether, 415 U.S. 189, 196 (1974)).

       Applied to the instant context, the reasoning of Tull confirms that Defendants are entitled

to a jury trial. As in Tull, the Federal Government in this case purports to seek a civil penalty

pursuant to a federal statute, i.e., § 526(c)(5). Moreover, the instant case presents an even more

compelling case for application of the Seventh Amendment than Tull did, given that the UST’s

§526 claims are also analogous to traditional common law claims for dishonesty, fraud,

misrepresentation or professional negligence.29 These types of claims constituted actions in law

as to which a right to jury trial also attached. Wright & Miller, Federal Prac. & Proc., § 2311,

(citing, e.g., Curriden v. Middleton, 232 U.S. 633 (1914), and Dellefield v. Blockdel Realty Co.,

1 F.R.D. 689 (S.D.N.Y. 1941) (where plaintiff sought both money damages and rescission for

fraudulent misrepresentation, issues relating to money damages concerned conversion and would

be tried to a jury, with court then passing on equitable relief sought)); Teamsters & Helpers, Local

No. 391 v. Terry, 494 U.S. 558, 568 (1990) (malpractice action for monetary relief against attorney




29
  Specifically, the UST seeks relief for violations of: (i) § 526(a)(1), which prohibits a debt relief
agency from “fail[ing] to perform any service that such agency informed an assisted person . . . it
would provide in connection with a case or proceeding under this title” and (iii) § 526(a)(3), which
prohibits debt relief agencies from “misrepresent[ing] to any assisted person . . . directly or
indirectly, affirmatively or by material omission, with respect to . . . (A) the services that such
agency will provide to such person[,] or (B)the benefits and risks that may result if such person
becomes a debtor in a case under this title[.]” See Complaint, Doc. 1, Counts I and II.

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historically an action at law); see also Granfinanciera, 492 U.S. at 41 (fraudulent conveyance

under § 548 an action at law).

            3. The civil penalty sought by the UST is legal in nature.

        As noted above, the second prong of the Granfinanciera test –– the nature of the remedy

sought –– is more important than the first. See Tull, 481 U.S. at 422. Because the UST purports

to seek a remedy that is legal in nature –– a civil penalty –– Defendants are plainly entitled to a

jury trial under the Seventh Amendment.

        The UST cannot circumvent Defendants’ Seventh Amendment right to a jury trial by

arguing that, in addition to a civil penalty, she purports to seek an (ill-conceived) injunction. See

Tull, 481 U.S. at 424-25. A litigant is not deprived of a jury trial merely because the Government

also purports to seek an injunction. Id.; Wright & Miller, Federal Prac. & Proc., §§ 2313, 2308.

It is well-settled “that suits for money damages, including punitive damages, are legal in nature

entailing the right to a jury trial, and that this right cannot be abridged even if the damages are

considered incidental to the equitable claims.” Curtis v. Loether, 415 U.S. 189, 196 n. 11 (1974)

(citing Beacon Theatres, Inc. v. Westover, 359 U.S. 500, (1959); and Dairy Queen, Inc. v. Wood,

369 U.S. 469 (1962)); see also Tull, 481 U.S. at 424-25 (Government could have sought injunctive

relief independent of, or in addition to, a civil penalty, and thus, the legal relief was not incidental

to, or intertwined, with the equitable relief such that a jury trial would be denied). Defendants are

plainly entitled to a jury trial on the UST’s § 526 claims.

            4. Congress has not assigned (and cannot assign) resolution of § 526 claims to a
               non-Article III adjudicative body that does not use a jury as factfinder.
        To the extent that the UST may argue that Defendants are not entitled to a jury right on the

theory that Congress has assigned § 526 claims for adjudication to the Bankruptcy Court, such a

contention is untrue. Such an argument, which presumably would be based on the limited “public

rights” exception, simply does not apply in this case.

                a. The “public rights” exception does not insulate §526 claims from the right
                   to a jury trial.



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       “‘Separation-of-powers principles are intended, in part, to protect each branch of

government from incursion by the others.’” Stern, 564 U.S. at 483 (quoting Bond v. United States,

564 U.S. 211, 222 (2011)). These principles date back to this nation’s founding.

       In establishing the system of divided power in the Constitution, the Framers
       considered it essential that “the judiciary remain[ ] truly distinct from both the
       legislature and the executive.” The Federalist No. 78, p. 466 (C. Rossiter ed. 1961)
       (A. Hamilton). As Hamilton put it, quoting Montesquieu, “‘there is no liberty if the
       power of judging be not separated from the legislative and executive powers.’” Ibid.
       (quoting 1 Montesquieu, Spirit of Laws 181).
Id.

       With this said, in certain limited circumstances, “when Congress creates new statutory

‘public rights’ it may assign their adjudication to an administration agency with which a jury trial

would be incompatible, without violating the Seventh Amendment’s injunction that jury trial is to

be ‘preserved’ in ‘suits at common law.’” Granfinanciera, 492 U.S. at 51 (quotation omitted).

Yet, to state the terms of that limited exception is to confirm its inapplicability here.

        To begin with, when Congress created § 526, it did not assign the adjudication of claims

for relief under that section to an administrative agency. Rather, such claims, like all claims for

relief under title 11, are adjudicated before federal district courts and federal bankruptcy courts

(subject to certain limitations). Moreover, different parties can bring enforcement actions pursuant

§ 526, including but not limited to debtors and State Attorneys General. Thus, it cannot be said

that adjudication of § 526 claims were even assigned to a particular tribunal, or a particular

enforcer, let alone that adjudication of such claims were specifically assigned to an administrative

agency. The “public rights” exception simply has no application in this case. Cf. Stern, 564 U.S.

at 494 ( “public rights” exception did not apply in context of resolving common law counterclaims

brought in bankruptcy case, as resolution of such claims had not been specifically assigned to an

administrative agency for that task, and “experts” for resolving such claims were Article III courts).

       To the extent that the UST may purport to rely on 28 U.S.C. § 157(a) as a basis for invoking

of the public rights doctrine, such an argument similarly would fail. That statute provides that

“[e]ach district court may provide that any or all cases under title 11 and any or all proceedings



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arising under Title 11 or arising in or related to a case under title 11 shall be referred to the

bankruptcy judges for that district.” 28 U.S.C. § 157(a) (emphasis added). Nothing in that statute

contemplates the assignment of cases arising under title 11 to an administration agency for

adjudication. Nor is the assignment of such cases to a bankruptcy court mandated by the statute.

Rather, 28 U.S.C. § 157(a) merely authorizes district courts to refer cases to Bankruptcy Courts,

which this Court has done.30 Indeed, if that statute truly constituted an “assignment” of all cases

arising under title 11, it would suffer from the same defects that had caused the Supreme Court to

render portions of the 1978 Bankruptcy Reform Act (the “1978 Act”) unconstitutional. See

Northern Pipeline Constr. Co. v. Marathon Pipe Line Co., 458 U.S. 50 (1982).31
       Additionally, one of the prerequisites for application of the “public rights” doctrine is that

the tribunal charged with adjudicating the claim in question must be “incompatible” with a jury,

i.e., they must not use juries as factfinders. See Granfinanciera, 492 U.S. at 41. But district court

and bankruptcy courts do use juries as factfinders. The “public rights” doctrine simply has no

application here.

               b. The Supreme Court has repeatedly warned against an expansive
                  application of the “public rights” exception.
       The instant case plainly does not fall within the narrow “public rights” exception, and there

is no reason for this Court to strain to find that it does. To the contrary, “even with respect to

matters that arguably fall within the scope of the ‘public rights’ doctrine, the presumption is in

favor of Art. III courts.” Stern, 564 U.S. at 499 (quoting Northern Pipeline, 458 U.S. at 69 n. 23).

30
   See SDIL-LR, Appx. B, br1001.1.
31
   In the 1978 Act, Congress “[e]liminat[ed] the distinction between ‘summary’ and ‘plenary’
jurisdiction” and enabled bankruptcy courts to decide “all ‘civil proceedings arising under title 11
[the Bankruptcy title] or arising in or related to cases under title 11.’” Id. at 54 (emphasis deleted).
Congress thus vested bankruptcy judges with most of the “‘powers of a court of equity, law, and
admiralty,’” id., at 55, without affording them “the protections constitutionally afforded to Art. III
judges,” such as “serv[ice] for life subject to their continued “good Behaviour,” id. at 60-61.
Unlike Article III judges, bankruptcy judges are subject to removal by the judicial councils of the
circuits in which they serve, and their salaries may be diminished by Congress. Id. According to
the Court, “[a] Judiciary free from control by the Executive and Legislature is essential if there is
a right to have claims decided by judges who are free from potential domination by other branches
of government.” Id. at 58 (emphasis added). Thus, parts of the 1978 Act were held to be
unconstitutional. Id. at 81.

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Indeed, in the bankruptcy context, the Supreme Court has repeatedly rebuffed attempts to apply

the “public rights” doctrine in a manner that erodes constitutional rights. For example, in Stern,

the Court noted:

       What is plain here is that this case involves the most prototypical exercise of
       judicial power: the entry of a final, binding judgment by a court with broad
       substantive jurisdiction, on a common law cause of action, when the action neither
       depends upon any agency regulatory regime. If such an exercise of judicial power
       may nonetheless be taken from the Article III judiciary simply by deeming it part
       of some amorphous ‘public right’, then Article III would be transformed from the
       guardian of individual liberty and separation of powers we have long recognized
       into mere wishful thinking.
Id. at 494-95 (emphasis in original). As Stern makes clear, “Congress may not bypass Article III

simply because a proceeding may have some bearing on a bankruptcy case . . . .” Id. at 499. Thus,

the bankruptcy court lacked authority to adjudicate the debtor’s tortious interference counterclaim,

which she had asserted in response to her stepson’s defamation claim against her. See id. at 503.

       Similarly, in Granfinanciera, supra, the Supreme Court held that a creditor who had not

filed a claim against the bankruptcy estate had a Seventh Amendment right to a jury trial in a

fraudulent transfer claim brought under § 548 by the Chapter 11 Trustee. Id. at 64. In so holding,

the Court rejected the argument that the claim fell within the ‘public rights’ exception. According

to the Court, such claims were not closely intertwined with a federal regulatory program and were

more properly characterized as a private right. Id. at 55.

       The limitations that the Supreme Court has placed upon the “public rights” doctrine in the

bankruptcy context has caused certain courts to ponder whether the doctrine has any proper

application in the bankruptcy context. As one bankruptcy court put it:

       Indeed, it is the Court’s refusal in both Stern and Northern Pipeline to allow a
       bankruptcy court to do everything that Congress might like that stands as a clear
       indication that the Court will never declare bankruptcy a ‘public right’ that simply
       overrides Article III and the due process it affords. And if not all of bankruptcy is
       a ‘public right,’ it is difficult to understand how some portions of it might be while
       others are not.
In re Sutton, 470 B.R. 462, 472 (Bankr. W.D. Mich. 2012). Simply put, it is questionable whether

the public rights doctrine has any application in bankruptcy. In any case, if a party that does not

submit a claim against the bankruptcy estate has a Seventh Amendment right to a jury trial in case


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brought against it under § 548, a fortiori, a party that does not submit a claim against the

bankruptcy estate (here, Defendants) similarly has a Seventh Amendment right to a jury in a case

brought against it under § 526.

        Consistent with the authorities addressed above, Defendants are unaware of any controlling

authority that ever has denied any § 526 defendant a jury trial right on the basis of the “public

rights” doctrine. There scant number of bankruptcy court decisions in which Courts have struck

jury demands but these decisions were made in error. For example in Davis v. SHLC Holdings,

LLC, (In Re Gillespie), 14-ap-1098, (N.D. Cal. June 3, 2015) the Court struck a jury demand and

held “There is also no right to a jury for determination of a civil fine. Tull v. United States, 481

U.S. 412, 427, 107 S.Ct. 1831, 95 L.Ed.2d 365 (1987). But Tull holds the exact opposite. The

Court in In re Bascus, 548 B.R. 742 (Bankr. S.D. Tex. 2016) badly misunderstands the “public

rights” doctrine and was incorrectly decided. Bascus cavalierly dismisses the importance of the

Seventh Amendment jury right and its reasoning contains a fundamental error: It incorrectly states

that “Congress, through 28 U.S.C. §157[,] has assigned the adjudication of [claims under §110,

and §§526-28] to bankruptcy courts.” Bascus, 548 B.R. at 748 (citing 28 U.S.C. §157(a))

(emphasis added).

        As explained supra at 11-12, 28 U.S.C. §157(a) does not assign any cases arising under

title 11 to the bankruptcy court. Rather, it authorizes district courts to refer cases to bankruptcy

courts. But district courts continue to possess original jurisdiction over cases that arise under title

11, see 28 U.S.C. § 1334, and they continue to have oversight responsibility over them. Again, if

28 U.S.C. § 157 truly constituted an “assignment” of cases arising under title 11, it would suffer

from the same defects that had caused the Supreme Court to render certain portions of the 1978

Bankruptcy Reform Act unconstitutional in Northern Pipeline. For these reasons, among others,

Bascus was incorrectly decided and does not justify denying Defendants their constitutional right

to a jury trial.

             5. The Bankruptcy Court’s inability to conduct a jury trial requires that the
                reference be withdrawn.


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       Because Defendants have a Seventh Amendment right to a jury trial, and because they do

not consent to a jury trial in the Bankruptcy Court, the reference must be withdrawn. See Matter

of Grabill Corp., 967 F.2d at 1158; Davidson v. Bristol-Myers Squibb Co., No. 10-CV-970-MJR,

2011 WL 13234404, at *2 (S.D. Ill. Sept. 30, 2011) (referral to bankruptcy court withdrawn where

defendants had right to jury trial and “made clear that they [did] not consent to trial before the

bankruptcy court”); Advanced Telecomm. Network, Inc. v. Flaster/Greenberg, P.C. (In re

Advanced Telecomm. Network, Inc.), No. 6:13-CV-700-ORL-28, 2014 WL 2528844, at *2 (M.D.

Fla. June 4, 2014) (“A right to a jury trial can constitute cause for withdrawal of the reference

where the parties do not expressly consent to having the bankruptcy court conduct the jury trial.”);

28 U.S.C. § 157(e).

       B. Withdrawal of the reference is also mandatory because resolution of this
          proceeding requires consideration of constitutional issues.
       District courts are required to withdraw the reference upon timely motion "if the court

determines that resolution of the proceeding requires consideration of both title 11 and other laws

of the United States regulating organizations or activities affecting interstate commerce." 28

U.S.C. § 157(d). Courts have held that certain constitutional law issues mandate withdrawal of the

reference. See, e.g., Picard, 469 B.R. at 414 (consideration of constitutional issues mandated

withdrawal of reference). In addition to the Seventh Amendment issue addressed above, this case

requires consideration of at least two additional constitutional issues – Defendants’ due process

rights under the Fifth Amendment and their free speech rights under the First Amendment.

           1. Because the Bankruptcy Court cannot serve as a neutral arbiter, due process
              requires withdrawal of the reference.
       It is axiomatic that “[a] fair trial in a fair tribunal is a basic requirement of due process.”

Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 876 (2009). “The Due Process Clause guarantees

litigants an impartial judge.” Montgomery v. Uchtman, 426 F.3d 905, 910 (7th Cir. 2005) (citing

In re Murchison, 349 U.S. 133, 136 (1955)); see also Zolotukhin v. Gonzales, 417 F.3d 1073, 1075

(9th Cir. 2005) (“A neutral judge is one of the most basic due process protections.”); In re L.T.

Ruth Coal Co., Inc., 66 B.R. 753, 782 (Bankr. E.D. Ky. 1986) (“bankruptcy court is a passive,


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impartial arbiter rather than an active participant in [] controversies that may involve vindication

of rights that arise under federal law”). Neutral arbiters should not take on the role of advocates.

Bi Qing Zheng v. Lynch, 819 F.3d 287, 297 (6th Cir. 2016); see also United States v. Bradley, 455

F.3d 453, 460 (4th Cir. 2006) (judge in plea negotiations should not be “an advocate for the

agreement” rather “than a neutral arbiter” in order to avoid unfairness and partiality in the judicial

process). The decisions of non-Article III judicial officers can be reversed on due process grounds

if the proceeding was “so fundamentally unfair that the [party] was prevented from reasonably

presenting his case . . . .” Colmenar v. I.N.S., 210 F.3d 967, 971 (9th Cir. 2000) (deportation

context).

       The background that preceded the filing of the Complaint demonstrates that the Bankruptcy

Court cannot serve (indeed, it has not served) in a role as neutral arbiter:

      No separation of powers: The Bankruptcy Court has directed the Executive Branch (the
       UST) to investigate UpRight Law in dozens of Chapter 7 bankruptcy cases it filed on behalf
       of its clients that resulted in discharges of its clients, including the Burns Bankruptcy.
       Given the Bankruptcy Court’s role in initiating and perpetuating these investigations, it
       cannot impartially preside over an adversary proceeding resulting from the investigations.

      The Bankruptcy Court already has violated Defendants’ procedural rights: The Bankruptcy
       Court has authorized Rule 2004 examinations of UpRight Law, its partners, and the debtors
       in violation of the express limitations of that rule. See In re Martelli, No. BR 16-20316-
       PRW, 2017 WL 3098105, *3 (Bankr. W.D.N.Y. July 20, 2017) (forbidding examinations
       under Rule 2004 where true intent was “to develop evidence of misconduct by UpRight
       Law and [its local partner].”); In re Wilcher, 56 B.R. 428, 434 (Bankr. N.D. Ill. 1985)
       (“Rule 2004 may not be used as a device to launch into a wholesale investigation of a non-
       debtor’s private business affairs.”); In re French, 145 B.R. 991, 993 (Bankr. D.S.D. 1992)
       (“there is something repugnant in requiring an attorney to submit to a Rule 2004
       examination, especially when debtor’s counsel is the sought-after target.”). Rule 2004 may
       not be used where, as here, the estate is fully administered. See, e.g., In re Underwood, 457
       B.R. 635, 646 (Bankr. S.D. Ohio 2011) (“[A] 2004 exam is simply not an appropriate tool
       for obtaining a broad range of information from a non-debtor that is not relevant to the
       debtor or her estate.”); In re Hilsen, No. 87-11261, 2008 WL 2945996, at *5 (Bankr.
       S.D.N.Y. July 25, 2008) (“Discovery of any matter that may affect administration of a
       debtor’s estate only makes sense while estate administration still is in progress. … [Rule
       2004] is procedurally inapplicable when there is nothing to discover about current estate
       administration and when no activity in a case is required other than to close it.”).

      The Bankruptcy Court has attempted to usurp the Chapter 7 Trustee’s administrative
       functions: The Chapter 7 Trustee issued his Final Report without any objection in the
       Burns Bankruptcy (and dozens of other cases). The Bankruptcy Court is not permitted to
       substitute its judgment on the question of whether the bankruptcy estate has been fully



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         administered. 32 Its attempt to do so is a transparent effort to justify the ongoing
         investigations and expand its authority in this adversary proceeding.33

        The Bankruptcy Court already has prejudged the merits: The Bankruptcy Court has
         purported to make “Findings of Facts” relating to the Burns Bankruptcy (and dozens of
         other cases) in the absence of any contested matter or evidentiary hearing. 34 This is
         inconsistent with the role of a neutral arbiter.

        The Bankruptcy Court has made inconsistent statements about its motivations for ordering
         the investigations: In the Opinion, the Bankruptcy Court purported to justify its
         investigations based on its review of UpRight Law’s attorney fees. That suggestion,
         however, is contradicted by numerous representations by the court in pre-Opinion
         proceedings.35

        The Bankruptcy Court already has disregarded any notions of proportionality: The
         Bankruptcy Court has authorized more than 100 Rule 2004 Examinations of UpRight Law,
         its partners, and its clients. The costs associated with these examinations already has vastly
         outstripped the fees that UpRight Law earned in the underlying cases. This history suggests
         that the Bankruptcy Court will not ensure proportionality in discovery in this proceeding.
For these reasons (among others), Defendants respectfully submit that the Bankruptcy Court

cannot meet its obligation to serve as a neutral arbiter. Parties are entitled to an unbiased arbiter

who has not prejudged their claims under Due Process Clause of the Constitution. Ahmed v.

Gonzales, 398 F.3d 722, 725 (6th Cir. 2005) Thus, withdrawal of the reference is appropriate

because “determination by an Article III judge is required to insure [both] the appearance and the

reality of independence and impartiality in the decision.” In re Texaco Inc., 84 B.R. at 925.

            2. This case requires consideration of other constitutional issues, such as the First
               Amendment protection of commercial speech.
         In their Answer, Defendants have raised several additional and affirmative constitutional

defenses (including First Amendment and Equal Protection defenses).36 For instance, the UST

purports to seeks to enjoin Defendants from engaging in certain commercial speech in


32
   See In re Koza, 375 B.R. 711, 717 (1st Cir. B.A.P. 2007) (the “responsibility to review the
accuracy and correctness of a trustee’s final report lies with the U.S. Trustee, see 28 U.S.C. § 586,
and the bankruptcy court intervenes only when an objection is filed).
33
   Administrative functions and judicial functions were bifurcated in the 1978 Act, leaving
bankruptcy courts only to perform judicial functions. See In re Schollett, 980 F.2d 639, 641 (10th
Cir. 1992). The prior combination of these responsibilities had undermined public confidence in
bankruptcy courts. Id. The Bankruptcy Court’s attempt to usurp administrative functions from the
Chapter 7 Trustee is inconsistent with the Act.
34
   See Opinion, Ex. B, at 6-35; see also supra at 12-13.
35
   See Opinion, Ex. B, at 41; see also supra at 5-6.
36
   See Answer, Doc. 12, ¶¶ 176-200, 201-220.

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advertisements. Defendants have filed an affirmative defense based upon the First Amendment.37

Constitutional issues of this nature must be addressed by the District Court.

       C. Additional factors also support withdrawal of the reference.

       Because the UST’s adversary proceeding is non-core, withdrawal of the reference is

especially appropriate. See, e.g., In re Orion Pictures Corp., 4 F.3d at 1101. Core jurisdiction “is

limited to questions that arise during the bankruptcy proceeding and concern the administration of

the estate, such as whether to discharge a debtor.” Zerand–Bernal Group, Inc. v. Cox, 23 F.3d 159,

162 (7th Cir.1994) (emphasis added). There is no core jurisdiction in a dispute between two
nonparties to the bankruptcy. In re Ha-Lo Indus., Inc., 330 B.R. 663, 668 (Bankr. N.D. Ill. 2005)

(citing Zerand, 23 F.3d at 162) (finding that 28 U.S.C. § 1334(b) could not possibly be applicable

to a dispute between two nonparties to the bankruptcy proceeding)). Claims under § 526 are not

enumerated in 28 U.S.C. § 157, nor are claims for civil penalties and injunctive relief. This makes

sense because these claims and forms of relief, when sought by the UST, do not relate to the rights

of debtors or creditors involved in the bankruptcy.

       The UST nevertheless alleges that her action against Defendants is a “a constitutionally

and statutorily core proceeding” under 28 U.S.C. §157(b)(2)(A) and (O) because “it asserts only

claims arising directly under title 11 of the United States Code.”38 But the UST is incorrect.

       The common denominator in Subsection 157(b)(2)(A) and (O) is that each provides

predicates that must relate to the administration of the bankruptcy estate. See § 157(b)(2)(A)

(“matters concerning the administration of the estate”); § 157(b)(2)(O) (“other proceedings

affecting the liquidation of the assets of the estate or the adjustment of the debtor-creditor or the

equity security holder relationship, except personal injury tort or wrongful death claims.”). This

case does not relate to the administration of the Debtor’s bankruptcy estate. For starters, the

Chapter 7 Trustee already issued his Final Report without objection (timely or otherwise). The

37
  Id. at 41-42, ¶¶ 245-250.
38
  See Complaint, Doc. 1, at ¶ 3. Notably, the UST tacitly concedes, as she must, that this adversary
proceeding is not a bankruptcy case; does not arise in a bankruptcy case; and does not relate to a
bankruptcy case.

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party with responsibility for administering the estate, the Chapter 7 Trustee, already has

determined that the estate has been fully administered. Moreover, even if the case had not been

fully administered, claims for civil penalties and injunctions targeted at a nonparty law firm cannot

affect the bankruptcy estate. The suggestion that this case relates to the administration of the

bankruptcy estate is pure fiction.

       In addition to the non-core nature of this case, other factors, such as judicial economy and

preservation of resources support withdrawal of the reference. Given that these claims are non-

core, the Bankruptcy Court cannot enter final judgment, and a review of any recommendation that
the Bankruptcy Court might make would have to be conducted de novo. Wellness Int'l Network,

Ltd. v. Sharif, 575 U.S. 665, 135 S. Ct. 1932, 1940 (2015). There is no reason to require such

duplication of effort. Additionally, given that the Bankruptcy Court has permitted the UST to

engage in scorched earth discovery tactics, Defendants have every reason to be concerned that the

Bankruptcy Court will continue to allow inefficient, and grossly excessive, discovery that is

massively disproportional to the needs of this case (and others).

V.     Conclusion.

       For the foregoing reasons, Defendants respectfully ask that this Court grant an order

withdrawing the reference in this adversary proceeding that is effective immediately.

Alternatively, if the Court denies this motion, Defendants ask the Court to certify the Seventh

Amendment right to a jury trial issue and the Fifth Amendment due process issue for interlocutory

appeal to the United States Court of Appeals for the Seventh Circuit.



       Date: April 12, 2021                                   Respectfully submitted,

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